           Case 1:17-cv-02638-KBJ Document 30 Filed 09/24/18 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



ABLA ABDEL BASET YOUSSEF,      )
                               )
     PLAINTIFF,                )
                               )
V.                             )                                CIVIL ACTION NO: 1:17-cv-02638
                               )
                               )
THE EMBASSY OF THE UNITED ARAB )
EMIRATES,                      )
                               )
and
                               )
THE UNITED ARAB EMIRATES,      )
                               )
     DEFENDANTS.               )


                    SPECIALLY-APPEARING DEFENDANTS
              THE EMBASSY OF THE UNITED ARAB EMIRATES AND
         THE UNITED ARAB EMIRATES’ MOTION TO DISMISS PLAINTIFF’S
        COMPLAINT AND MOTION TO STRIKE PLAINTIFF’S JURY DEMAND

        Pursuant to Rules 12(b)(1), (2), and (6) of the Federal Rules of Civil Procedure, and

pursuant to 28 U.S.C. §1330(a) and (b), Specially-Appearing Defendants the Embassy of the

United Arab Emirates (“the Embassy”) and the United Arab Emirates (collectively, “the UAE”)

move to dismiss each and every cause of action alleged in Plaintiff Abla Abdel Baset Youssef’s

Complaint dated December 8, 2017.1 As discussed more fully in the attached memorandum in

support, the UAE (and the Embassy) are immune from suit under the Foreign Sovereign

Immunities Act (“FSIA”). Additionally, Plaintiff’s District of Columbia law-based claim should

also be dismissed because at all relevant times her workplace was located in a federal enclave

separate and distinct from the territory of the District of Columbia.

1
 The UAE is making a special appearance in this case solely to dismiss Plaintiff’s Complaint. In making this
special appearance, the UAE does not waive immunity under the Foreign Sovereign Immunity Act of 1976, Pub. L.
94-583, 90 Stat. 2891, and reserves and maintains all rights afforded to it as a sovereign state.
          Case 1:17-cv-02638-KBJ Document 30 Filed 09/24/18 Page 2 of 3




       Furthermore, this Court should strike Plaintiff’s demand for a jury trial. Even in

instances in which a foreign state is not entitled to sovereign immunity under the FSIA, there is

no right to a jury trial under the statute. The FSIA expressly provides that federal courts only

have jurisdiction over nonjury civil actions. See 28 U.S.C. § 1330. Thus, the UAE respectfully

requests that this Court strike Plaintiff’s Jury Demand from her Complaint.



Dated: September 24, 2018

                                              Respectfully submitted,

                                              /s/ Igor V. Timofeyev
                                              Scott M. Flicker (DC Bar No. 425825)
                                              Igor V. Timofeyev (DC Bar No. 998291)
                                              Kenneth M. Willner (DC Bar No. 415906)
                                              PAUL HASTINGS LLP
                                              875 15th Street, N.W.
                                              Washington, D.C. 20005
                                              Telephone: (202) 551-1792
                                              Facsimile: (202) 551-1705
                                              scottflicker@paulhastings.com
                                              igortimofeyev@paulhastings.com
                                              kenwillner@paulhastings.com

                                              Counsel for the Specially-Appearing Defendants the
                                              United Arab Emirates and
                                              the Embassy of the United Arab Emirates




                                                 2
          Case 1:17-cv-02638-KBJ Document 30 Filed 09/24/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of September 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following:


Sylvia J. Rolinski, Esq.
Rolinski Law Group, LLC
14915 River Road
Potomac, MD 20854
Tel. (301) 987 - 0202
Fax (301) 263-7100
sjr@rolinski.com

Daniel K. Gebhardt , Esq.
Solomon Law Firm, PLLC
1025 Connecticut Avenue, N.W.
Suite 1000
Washington, D.C. 20036
Tel. (866) 833-3529
Fax (202) 688-1896
dgebhardt@fedemploylaw.com




                                             /s/ Igor V. Timofeyev
                                             Igor V. Timofeyev




                                                3
